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 1   ROB BONTA
     Attorney General of California
 2   THOMAS S. PATTERSON
     Senior Assistant Attorney General
 3   ANYA BINSACCA
     JOHN D. ECHEVERRIA
 4   MARISSA MALOUFF
     JAMES E. STANLEY
 5   Supervising Deputy Attorneys General
     NICHOLAS ESPÍRITU
 6   STEVEN KERNS
     JANE REILLEY
 7   MEGAN RICHARDS
     MEGHAN H. STRONG
 8   Deputy Attorneys General
      455 Golden Gate Ave.
 9    San Francisco, CA 94102
      Telephone: (415) 510-3877
10    E-mail: Meghan.Strong@doj.ca.gov
     Attorneys for Plaintiffs
11
12                   IN THE UNITED STATES DISTRICT COURT
13                FOR THE NORTHERN DISTRICT OF CALIFORNIA
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15
16
     GAVIN NEWSOM, IN HIS OFFICIAL                 Case No: 3:25-cv-04870-CRB
17   CAPACITY AS GOVERNOR OF THE
     STATE OF CALIFORNIA; STATE OF
18   CALIFORNIA,
19                               Plaintiffs,
                                                   DECLARATION OF DIEGO
20              v.                                 ALEJANDRO ARP
21
     DONALD TRUMP, IN HIS OFFICIAL
22   CAPACITY AS PRESIDENT OF THE
     UNITED STATES; PETE HEGSETH, IN
23   HIS OFFICIAL CAPACITY AS SECRETARY
     OF THE DEPARTMENT OF DEFENSE;
24   U.S. DEPARTMENT OF DEFENSE,
25
                              Defendants.
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                                               Declaration of Diego Alejandro Arp (3:25-cv-04870-CRB)
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 1                  DECLARATION OF DIEGO ALEJANDRO ARP
 2        I, DIEGO ALEJANDRO ARP, declare as follows:
 3         1. I am over the age of 18 years and a U.S. citizen. I know the following
 4   facts based on my own personal knowledge. If called as a witness, I could and
 5   would testify competently to the matters set forth below.
 6         2. I am a licensed attorney in the State of California and the President of the
 7   Mexican American Bar Association of Los Angeles County (MABA). Our
 8   membership is comprised primarily of attorneys, judges, and law students in the
 9   Los Angeles area, and our mission is to empower the Latino community by
10   supporting Latino/a lawyers, law students, and bench officers through
11   philanthropic, educational, and civic endeavors.
12         3. MABA engages in several outreach efforts including its Judicial
13   Externship Program; High School Scholarship Program; its Law Student
14   Mentorship Program; and MABA’s Vice-Chair program, which seeks to provide
15   leadership experience to Latino/a law students at Southern California law schools,
16   as well as foster a closer connection between Latino/a law students and the general
17   MABA membership.
18         4. MABA also provides free legal consultations to the broader Latino
19   community in Los Angeles County through its pro bono legal clinics. MABA also
20   endorses political and judicial applicants, as well as provides continuing education
21   seminars and a Supreme Court in Year Review panel to highlight cases of
22   importance to the Latino/a community. We also conduct MCLE programs regarding
23   immigration and civil rights to our members and the community.
24         5. One recent activity organized by MABA was to peacefully march in the
25   marches held on June 14, 2025, in downtown Los Angeles in support of the rule of
26   law and the people of Los Angeles. Our goal was to make our community’s voice
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                                               Declaration of Diego Alejandro Arp (3:25-cv-04870-CRB)
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 1   heard, to make a showing of support for unity for all Angelenos, and to defend the
 2   rule of law.
 3         6.   I worked with several other Bar Associations in Los Angeles County
 4   who agreed to co-sponsor the event and participate in our contingent at the march.
 5   These groups included: the Latina Lawyers Bar Association; Women Lawyers
 6   Association of Los Angeles; Consumer Attorneys of California; Korean
 7   Community Lawyers Association; Philippine American Bar Association; California
 8   Employment Lawyers Association; Consumer Attorneys Association of Los
 9   Angeles; John M. Langston Bar Association of Los Angeles; California La Raza
10   Lawyers Association; Asian Pacific American Women Lawyers Alliance; Los
11   Angeles County Bar Association; and the Hispanic Bar Association.
12         7. As part of the planning for the event we put together a flyer confirming
13   where to meet, instructions on what to bring to the march, including comfortable
14   walking shoes, sun protection, and sufficient water.
15         8. Part of my work in planning for our groups’ participation in the march
16   was establishing a start time, meeting point, and route that we would be following
17   so that the group could remain together in a show of solidarity.
18         9. Our hope was that that not only MABA members and the other Bar
19   Associations would attend, but that they would also feel comfortable bringing
20   friends and family, including their young children. To this extent we included
21   instructions at the beginning of the march to remain peaceful and obey all laws. I
22   emphasized the lessons we were taught by civil rights leaders like Ghandhi, Dr.
23   Martin Luthor King Jr., and Dolores Huerta, that nonviolent protest was the most
24   effective and correct way to engage in civil protest. This participation is important
25   to further enable our community to see the ways in which they can engage in civic
26   participation and have their voices heard.
27         10. MABA has participated in numerous marches in downtown Los Angeles
28   over the years to show support for issues central to our mission. These marches
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 1   almost always include passing by the Federal building downtown. We see it as
 2   symbolic of our desire to have our voice heard in the national political debates, and
 3   as a way to ask the federal government to be responsive to our concerns.
 4         11. However, in planning the route this year, MABA made a conscious
 5   decision to avoid the downtown federal building. Based on news reports, we
 6   believed that there would be National Guard and/or Marines present at that
 7   building. This created a concern for us because the National Guard and/or Marines
 8   are not trained for civilian police activity. We were concerned that this could result
 9   in participants in our march, including the children, being exposed to unnecessary
10   risk arrest and/or injury. We were also concerned that participants would be subject
11   to arrest for the lawful exercise of their First Amendment rights. We regretfully
12   made the decision to avoid the federal building and felt that our ability to have our
13   concerns heard was lessened as a result of this fear.
14         12. In avoiding the federal building we were able to participate in the march
15   without incident. Should federal troops be present at future events, we will have to
16   carefully consider how we participate in those events, including circumscribing and
17   limiting how we engage in our peaceful assembly, so as to make sure our
18   membership stay safe and is not subject to unlawful arrest or violence.
19
20        I declare under penalty of perjury under the laws of the United States that the
21   foregoing is true and correct.
22        Executed on June 16, 2025, at Los Angeles, California.
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26                                                 Diego Alejandro Arp
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                                                Declaration of Diego Alejandro Arp (3:25-cv-04870-CRB)
